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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )      Criminal Action No. 1:23-cr-61-MN
                                                 )
ROBERT HUNTER BIDEN,                             )
                                                 )
                              Defendant.         )

                                    [PROPOSED] ORDER

            AND NOW, this _________ day of __________________, 2024, upon consideration

of the Government’s Motion in Limine to Exclude Argument or Suggestion that Charges are

Unconstitutional, and with the defendant not opposing such motion, it is HEREBY ORDERED

that the Motion is GRANTED and that questioning, evidence, testimony or argument suggesting

the charges in the indictment are unconstitutional is excluded from trial because they are outside

the province of the jury.


                                                ________________________________
                                                The Honorable Maryellen Noreika
                                                United States District Judge




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